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                                                                         FILED IN OPEN COURT
                                                                             U.S.D.C.-Atlanta


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                   IN THE UNITED STATES DISTRICT COURT Ju^ L J. ^l
                FOR THE NORTHERN DISTRICT OF GEORGIA KEVIN^P. ^i^ cie>
                          ATLANTA DIVISION                     eputyClef)




   UNITED STATES OF AMERICA


      V.                                       Criminal Action No.
                   ,.^ ...„ „ .. „ I 1:21-MJ-700-RDC
   DAWAUN NA/JEE WILLIAMS/
   A/K/A KYLE EVAN COBB


                        Government s Motion for Detention

   The United States of America/ by counsel/ Kurt R. Erskine/ Acting United States

Attorney/ and Theodore S. Hertzberg/ Assistant United States Attorney for the

Northern District of Georgia/ moves for detention under 18 U.S.C. §§ 3142(e) & (f).

1. Eligibility of Case

   This case is eligible for a detention order because this case involves:

           • Any felony that is not otherwise a crime of violence but which

              involves the possession/use of a firearm; and

           • A serious risk that the defendant will flee.

2. Reason for Detention


   The Court should detain defendant because there are no conditions of release

that will reasonably assure the appearance of the person as required and the safety

of any other person and the community.

3. Time for Detention Hearing

   The United States requests the Court conduct the detention hearing at initial

appearance.
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   The United States requests leave of Court to supplement this motion with

additional grounds or presumptions for detention.




Dated: July 23, 2021.

                                        Respectfully submitted/

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                             Certificate of Sendce

I served this document today by handing a copy to defense counsel.



July 23, 2021

                           /s/THEODORE S. HERTZBERG
                           THEODORE S. HERTZBERG
                           Assistant United States Attorney
